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 7
                           UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA
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10
     JILL E. PRESTON,                       )     CV 09-8543 SVW (RZx)
11                                          )
                          Plaintiff,        )
12                                          )
                    v.                      )
13                                          )     ORDER GRANTING-IN-PART AND
     THE MAYO CLINIC, a Corporation;        )     DENYING-IN-PART DEFENDANTS’
14   STEELE FAUST; STEPHANIE WENDORFF;      )     MOTION FOR SUMMARY JUDGMENT
     KAREN NATION; MAYO COLLABORATIVE       )     [22]
15   SERVICES, INC.; MAYO FOUNDATION        )
     FOR MEDICAL EDUCATION AND              )
16   RESEARCH; and DOES 3-50,               )
     inclusive,                             )
17                                          )
                          Defendants.       )
18                                          )
19

20

21   I.   INTRODUCTION
22

23        Plaintiff Jill Preston (“Plaintiff” or “Preston”) is suing her
24   former employer, the Mayo Clinic and Mayo Collaborative Services, Inc.
25   (collectively “Mayo”) as well as her former supervisor, Steele Faust,
26   and the Senior Human Service Partners, Stephanie Wendorff and Karen
27   Nation (collectively, “Defendants”) in an employment discrimination
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 1   suit.1   Specifically, Preston alleges violations of Fair Employment and
 2   Housing Act (Gov. Code § 12920 et seq.), retaliation for complaining
 3   about discrimination, breach of contract, wrongful termination, and
 4   failure to prevent discrimination and retaliation.        Preston asserts
 5   that Defendants engaged in discrimination on the basis of gender and
 6   marital status.
 7         In September 13, 2004 Preston was hired as the Regional Manager
 8   for the Los Angeles area to sell laboratory testing services offered by
 9   Mayo Medical Laboratories.    Faust, as the Hiring Supervisor for the
10   Regional Manager positions, participated in Preston’s interview process
11   and made the ultimate decision to hire Preston.
12         From the time that Preston was hired until around January 2007,
13   Preston’s direct supervisor was Mike Weatherly.        Weatherley evaluated
14   Preston for her annual performance review for 2005, for which she was
15   ranked “Achieves Expectations” for essentially all of the categories.
16   In January 2007, Faust took over as supervisor of the Regional Managers
17   in the western part of the country, including Preston.         Faust performed
18   Preston’s 2006 performance review, for which Preston also received
19   “Achieves Expectations” for most categories.
20         In March 2008, Faust issued Preston’s 2007 performance review, in
21   which Preston was ranked “Needs Further Development” in many
22   categories.   Faust also provided her with a “Corrective Action” and
23   Performance Improvement Plan.     Preston alleges that no other Regional
24   Manager was required to perform the tasks outlined in the “Performance
25   Improvement Plan”; however, Defendants show that Faust also issued a
26

27     1
         The individual Defendants were terminated during the pendency of
28     this suit in state court.

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 1   “Corrective Action” and “Performance Improvement Plan” to Dave Brown, a
 2   Regional Manager who is a married male.
 3        In April 2008, Preston responded to the 2007 performance review by
 4   sending 47 page rebuttal to the Senior Human Resources Service Partner
 5   and a 30 page document to the Director of Sales arguing that 2007
 6   Performance Review was unwarranted.        Preston also submitted two
 7   additional memos to Defendants to protest the 2007 performance review.
 8   In April 2008, Preston also submitted a formal internal appeal of the
 9   Correction Action and “Performance Improvement Plan”, which was
10   subsequently denied in October 2008.
11        Preston’s first allegations for gender discrimination appear to
12   have arose on May 27, 2008 or sometime thereabout.        On that day,
13   Preston also sent an email to Defendant’s HR department and the
14   Director of Sales alleging that Faust discriminated against her because
15   of her gender.    Preston accused Faust of doubling the bid Preston had
16   already discussed with Primex, a medical laboratory.        Shortly
17   thereafter, Preston went on a four month leave of absence for
18   bereavement.
19        During her leave, Preston filed an administrative complaint
20   against Defendants with the California Department of Fair Employment
21   and Housing alleging, for the first time, both sex and marital status
22   discrimination.   The Department responded within a few days that
23   “further investigation was not warranted and that an accusation of
24   discrimination would not be issued.”
25        Upon her return from leave in October 2008, Preston and Faust had
26   regularly scheduled Monday telephone conferences to discuss Preston’s
27   activities and performance.    Preston requested that her attorney be
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 1   present on these weekly phone calls, which was against Faust’s policy
 2   when Faust was discussing performance issues with an employee. (Defs.
 3   SUF 39.)
 4        On Monday, December 1, 2008, Faust and Human Resources officer
 5   Karen Nation called Preston to discuss her performance.         Preston did
 6   not pick up the phone, refusing to talk to Faust without her attorney
 7   present.   (Defs. SUF 34, 38.)    Faust emailed to reschedule the call to
 8   the following week, but Preston again refused to take the call.          (Defs.
 9   SUF 43.)   On December 10, 2008, Faust recommended that Preston be
10   terminated, and Defendants then terminated her.        (Defs. SUF 44.)
11   Defendants hired an unmarried female to take Preston’s Regional Manager
12   position. (Defs. SUF 45.)
13        On July 6, 2009, Preston filed a complaint against Defendants in
14   Los Angeles Superior Court, alleging various causes of action stemming
15   from Defendants’ sex and marital status. (Compl., ¶ 24.)
16        During the time of Preston’s employment, Faust also supervised
17   four other female Regional Managers and one male Regional Manager.             Of
18   the female Regional Mangers, one was an unmarried female, Sue
19   Forrester.   However, Preston alleges that she was the only unmarried
20   female under Faust’s supervision since Forrester was gay and in a long-
21   term relationship with a partner and children.
22        In her Complaint, Preston alleges that Faust allowed other
23   Regional Managers under his supervision to get credit towards their
24   annual sales goals for sales toward a commercial competitor laboratory
25   sources while Preston was not allowed to. (Compl. ¶ 19.) Preston
26   further alleges that the only other Regional Manager to receive a
27   Correction Action and “Performance Improvement Plan,” a married male
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 1   manager, was given seven months to complete his goals, while Preston
 2   was only given two and a half months.
 3

 4   II.   LEGAL STANDARD
 5

 6         A.   SUMMARY JUDGMENT
 7         Rule 56(c) requires summary judgment for the moving party when the
 8   evidence, viewed in the light most favorable to the nonmoving party,
 9   shows that there is no genuine issue as to any material fact, and that
10   the moving party is entitled to judgment as a matter of law.          See Fed.
11   R. Civ. P. 56(c); Tarin v. County of Los Angeles, 123 F.3d 1259, 1263
12   (9th Cir. 1997).
13         The moving party bears the initial burden of establishing the
14   absence of a genuine issue of material fact.       See Celotex Corp v.
15   Catrett, 477 U.S. 317, 323-24 (1986).      The moving party may satisfy its
16   Rule 56(c) burden by “‘showing’ -- that is, pointing out to the
17   district court -- that there is an absence of evidence to support the
18   nonmoving party’s case.”    Celotex, 477 U.S. at 325.
19         Once the moving party has met its initial burden, Rule 56(e)
20   requires the nonmoving party to go beyond the pleadings and identify
21   specific facts that show a genuine issue for trial.        See id. at 323-34;
22   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).         A scintilla
23   of evidence or evidence that is merely colorable or not significantly
24   probative does not present a genuine issue of material fact.          Addisu v.
25   Fred Meyer, 198 F.3d 1130, 1134 (9th Cir. 2000).        Only genuine disputes
26   “where the evidence is such that a reasonable jury could return a
27   verdict for the nonmoving party” over facts that might affect the
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 1   outcome of the suit under the governing law will properly preclude the
 2   entry of summary judgment.    See Anderson, 477 U.S. at 248.
 3        B.    EMPLOYMENT DISCRIMINATION
 4        The central cause of action is brought under California’s Fair
 5   Employment and Housing Act, which prohibits adverse employment actions
 6   based on the “race, religious creed, color, national origin, ancestry,
 7   physical disability, mental disability, medical condition, marital
 8   status, sex, age, or sexual orientation of any person.”         Cal. Gov. Code
 9   § 12940(a).2   Preston alleges discrimination on the basis of sex and
10   marital status.
11        California employment discrimination claims follow the general
12   burden-shifting framework of McDonnell Douglas v. Green, 411 U.S. 792
13   (1973).   See Guz v. Bechtel Nat’l, Inc., 24 Cal. 4th 317, 354-55
14   (2000).   In applying the burden-shifting framework, courts generally
15   use state and federal caselaw interchangeably.       See, e.g., Nidds v.
16   Schindler Elevator Corp., 113 F.3d 912, 916 (9th Cir. 1996)
17   (“California courts interpreting FEHA often look to federal cases. . .
18   . Therefore, we too rely on such cases where helpful.”).         Summary
19   judgment is generally disfavored in this area of law, and courts
20   therefore apply “a high standard for the granting of summary judgment
21   in employment discrimination cases.” Schnidrig v. Columbia Mach., Inc.,
22   80 F.3d 1406, 1410 (9th Cir.), cert. denied, 519 U.S. 927, 117 S.Ct.
23   295, 136 L.Ed.2d 214 (1996).
24        To establish a prima facie case of discrimination, a plaintiff
25   must show that “(1) [s]he is a member of a protected class; (2) [s]he
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      2
27     The act also extends protection to persons who are “perceived to
      have[] any of those characteristics.” Id. at § 12926(m) (emphasis
28    added).

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 1   was qualified for his position; (3) [s]he experienced an adverse
 2   employment action; and (4) similarly situated individuals outside h[er]
 3   protected class were treated more favorably, or other circumstances
 4   surrounding the adverse employment action give rise to an inference of
 5   discrimination.”   Peterson v. Hewlett-Packard Co., 358 F.3d 599, 603
 6   (9th Cir. 204).
 7        Once the plaintiff has made a prima facie showing, the burden
 8   shifts to the defendant to show that the employment decision was made
 9   for legitimate, nondiscriminatory reasons.       Guz, 24 Cal. 4th at 334-35.
10        If the employer produces evidence of a legitimate,
11   nondiscriminatory reason for the adverse employment action, the
12   plaintiff must produce responsive evidence, either directly by showing
13   that the employer in fact discriminated, or indirectly by showing that
14   the employer’s reasons for the adverse employment action are
15   pretextual.   Horn v. Cushman & Wakefield Western, Inc., 72 Cal. App.
16   4th 798, 807 (1999); see also Coleman v. Quaker Oats Co., 232 F.3d
17   1271, 1287 (9th Cir. 2000) (“To survive summary judgment, the burden is
18   on [the plaintiff] to ‘produce enough evidence to allow a reasonable
19   factfinder to conclude either: (a) that the alleged reason for [her]
20   discharge was false, or (b) that the true reason for his discharge was
21   a discriminatory one.’”) (quoting Nidds, 113 F.3d at 918). Bradley v.
22   Harcourt, Brace and Company, 104 F. 3d 267, 279 (9th Cir. 1996).          The
23   burden is on the plaintiff to introduce direct or circumstantial
24   evidence giving rise to a reasonable inference of discrimination.          St.
25   Mary’s Honor Ctr. v. Hicks, 509 U.S. 502, 506 (1993); Slatkin v.
26   University of Redlands, 88 Cal. App. 4th 1147, 1158 (2001) (“there must
27   be evidence supporting a rational inference that intentional
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 1   discrimination . . . was the true cause of the employer’s actions”).
 2   If the plaintiff relies on circumstantial evidence to rebut the
 3   employers’ showing of non-discriminatory reasons for its action, “that
 4   evidence must be specific and substantial to defeat the employer’s
 5   motion for summary judgment.”     Coghlan v. Am. Seafoods Co. LLC, 413
 6   F.3d 1090, 1095 (9th Cir. 2005) (internal quotations omitted).
 7

 8   III. PLAINTIFF HAS NOT MADE A PRIMA FACIE SHOWING OF EMPLOYMENT
 9        DISCRIMINATION
10

11        Defendants contend that Preston cannot identify any triable issues
12   that support her prima facie claim on her employment discrimination
13   cause of action.
14        Recall that the prima facie case requires Preston to show: “(1)
15   [s]he is a member of a protected class; (2) [s]he was qualified for his
16   position; (3) [s]he experienced an adverse employment action; and (4)
17   similarly situated individuals outside h[er] protected class were
18   treated more favorably, or other circumstances surrounding the adverse
19   employment action give rise to an inference of discrimination.”
20   Peterson, 358 F.3d at 603.
21        Only the fourth requirement is in dispute.        Defendants assert that
22   Preston is unable to identify either (1) any evidence showing that
23   other employees who were not female and/or unmarried were treated more
24   favorably than Preston, or (2) any other evidence “giv[ing] rise to an
25   inference of discrimination.”     Peterson, 358 F.3d at 603.
26        It is helpful to address each alleged act of discrimination
27   separately.   Preston contends that she experienced three separate
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                                            8
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 1   adverse employment actions: first, being put on a “Performance
 2   Improvement Plan”; second, being denied commissions on the “Westcliff”
 3   sale and being denied “preferred pricing” on “Primex”; and third, being
 4   terminated.   Preston contends that other similarly situated individuals
 5   (that is, unmarried persons and/or females), did not experience these
 6   adverse employment actions.
 7        Preston fails to support her contentions with admissible evidence;
 8   accordingly, Preston has failed to raise a triable issue of fact as to
 9   the fourth element of her prima facie case.       Defendants are entitled to
10   summary judgment on this claim.
11        A.   First Adverse Action: the Performance Improvement Plan
12        Preston contends that “other Regional Managers were not put on a
13   [Performance Improvement Plan].”     (Opp. at 6.)    Specifically, Preston
14   argues that two other females (one of whom, like Preston, was also
15   unmarried) had similar sales performances but were not placed on
16   Performance Improvement Plans.     (Opp. at 6-7.)
17        At the outset, it is important to note that during Steele Faust’s
18   tenure as Preston’s direct supervisor, Faust supervised only five
19   Regional Managers.   (SUF 22.)    Four of these individuals were female
20   and one was male.    (Id.)   In addition, one of these employees, Sue
21   Forrester, was also an unmarried female like Preston.         (Id.)3
22

23    3
       Preston claims that Sue Forrester is, for all intents and purposes, a
      “married” female. Preston, in her own declaration, states that
24    Forrester “Sue Forrester is gay, has a live in partner and they have
      a child. So her relationship is stable and similar to a marriage.”
25
      (Preston Decl. ¶ 7.)
26         Defendants object to this statement because it lacks foundation
      and personal knowledge. (Docket no. 49-1 at ¶ 12, citing Fed. R.
27    Evid.§ 602.) Defendants’ objections is SUSTAINED. Preston fails to
      lay a foundation to establish her personal knowledge of Forrester’s
28    personal lifestyle.                                    (Cont’d...)

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 1        As for Preston’s argument that Faust’s decision to place her on a
 2   Performance Improvement Plan was discriminatory because two other
 3   employees had similar sales shortfalls, this argument fails to raise
 4   any inference that Faust was acting in a discriminatory manner.           As
 5   Preston acknowledges, these two similarly situated underperforming
 6   employees were both females.     Additionally, another one of these
 7   similarly situated employees was an unmarried female like Preston.              The
 8   fact that Faust placed Preston, but not those other employees, on a
 9   Performance Improvement Plan fails to support Preston’s prima facie
10   case of discrimination.
11

12

13
           Notably, Preston has also included a Declaration from Sue
14    Forrester herself. Forrester’s declaration is silent regarding her
      personal lifestyle.
15         In addition, even if Preston had introduced admissible evidence
      to the effect that Forrester has a “live in partner,” the California
16    Supreme Court, in the context of interpreting the analogous Unruh
      Civil Rights Act, has explicitly noted that:
17         marital status claims are cognizable under the Unruh Civil
           Rights Act, but, for purposes of such claims, a distinction
18         exists between registered domestic partners (see Fam.Code, § 297
19         et seq.) and other unmarried couples and individuals. Domestic
           partners registered under the California Domestic Partner Rights
20         and Responsibilities Act of 2003 (the Domestic Partner Act), the
           current version of the domestic partnership law, are the
21         equivalent of spouses for the purposes of the Act.
      Koebke v. Bernardo Heights Country Club, 36 Cal.4th 824, 831 (2005)
22    (emphasis added).
           Thus, it appears that under the California Supreme Court’s the
23    Unruh Civil Rights Act, a gay person will only be considered to be
      “married” for purposes of the Fair Employment and Housing Act if she
24    is either married or has entered into a registered domestic
      partnership.
25
           Here, there is absolutely no evidence, either admissible or
26    inadmissible, in the record to show that Forrester (who is a resident
      of Oregon, see Forrester Decl.), is married or is part of a
27    registered domestic partnership. Thus, even if the Court were to
      consider the inadmissible facts stated in Preston’s declaration, this
28    evidence is not relevant for purposes of the Motion.

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 1          Further, Defendants have introduced evidence that Preston’s
 2   supervisor Steele Faust has placed only one other Regional Manager on a
 3   “Performance Improvement Plan.”      Prior to placing Preston on a
 4   Performance Improvement Plan, Faust placed Dave Brown on a Performance
 5   Improvement Plan.   Notably, Brown is a married male. (SUF 6, 8.)4
 6   Accordingly, not only has Preston failed to show that Defendants
 7   treated unmarried women differently from other employees, but
 8   Defendants have successfully shown the exact opposite: Faust treated
 9   Preston in the same exact manner as he treated a married man.
10   Furthermore, Defendants have introduced unrebutted evidence that an
11   unmarried female Regional Manager (Sue Forrester) was not placed on a
12   Performance Improvement Plan.     (See SUF 8-9, 23, 25; Faust Decl. ¶¶ 4,
13   7.)    Defendants have also introduced unrebutted evidence establishing
14   that Faust gave an unmarried female Regional Manager, Sue Forrester,
15   special awards in 2006 and 2007 for her sales performance.          (SUF 23-
16   24.)   Further, Defendants have introduced unrebutted evidence showing
17   that Faust gave another women (who is apparently married) a similar
18   award.   (Id.)   Defendants have therefore introduced evidence strong
19   showing that Defendants were not discriminating, and Preston has
20   identified no evidence showing that Defendants were discriminating.             In
21   fact, Preston has not even attempted to refute Defendants’ contention
22

23    4
        Preston does not object to Defendants’ use of Steele Faust’s
      declaration to establish Dave Brown’s gender and marital status.
24    Even if Preston had objected, the California Fair Employment and
      Housing Act provides that the decision-maker’s perceptions of gender
25
      and marital status are legally equivalent to the actual gender and
26    marital status. Cal. Gov. Code § 12926(m.) Because Faust was the
      relevant decision-maker regarding the institution of a “Performance
27    Improvement Plan,” Faust’s perception of Brown’s gender and marital
      status is a legally material fact, and Faust’s declaration is
28    therefore admissible to establish that fact.

                                            11
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 1   that “Aside from herself, Preston is unable to identify any female or
 2   unmarried employees that Faust allegedly treated adversely.”             (SUF 25.)
 3          In response to Defendants’ showing that there is an absence of
 4   discrimination, Preston attempts to argue that there is a triable issue
 5   of fact as to whether Faust gave Dave Brown a more lenient Performance
 6   Improvement Plan than Faust gave to Preston.        Preston asserts that this
 7   fact gives rise to an inference that Faust treated married men more
 8   favorably than he treated unmarried women.
 9          The facts are this: Faust issued a Performance Improvement Plan to
10   Brown in November 2005.    (Faust Decl. Ex. C.)      Faust issued a
11   Performance Improvement Plan to Preston in March 2008. (Preston Decl. ¶
12   13.)   Both Performance Improvement Plans called for monthly follow up
13   meetings on each of the stated goals.       The Plans also provided various
14   dates under the “timeframe for accomplishing heading.”           These
15   timeframes offered the employees the following number of months to
16   complete certain goals:
17
     Goal                       Brown                       Preston
18   General New Account        7 months                    3 months
     Closure Goals
19
     Provide Account Plans      n/a                         1 month
20   to Clients
21   Attend Formal Training     3 months                    n/a
     Course
22
     “Sales Funnel              “ongoing”                   “ongoing”
23   Activity” Goals
     Complete “Time and         1 month                     “ongoing”
24   Territory Management”
     Exercise
25
     General “Outreach”         “ongoing”                   “ongoing”
26   Goals
27   “SAP Minimum               n/a                         “weekly”
     Requirements”
28
                                            12
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 1
     Meeting Attendance         n/a                         “weekly”
 2   Weekly Call Reports        n/a                         “weekly”
 3   “GPO Promotions”         1 month for some              n/a
                              goals; “weekly” for
 4                            another
     (Preston Decl. Ex. 6; Faust Decl. Ex. C.)
 5
          This chart reveals that there is little material difference
 6
     between the two plans, except that Brown was given seven months to
 7
     accomplish his goal for new account closures, whereas Preston was given
 8
     three months to do the same.     But aside from this single goal, there is
 9
     little significant difference between the two Performance Improvement
10
     Plans.    In fact, Brown is given a shorter time span than Preston for
11
     various goals.   Also, a number of specific goals are different for
12
     Brown and Preston.    It appears, then, that Brown and Preston displayed
13
     different strengths and weaknesses, and therefore required different
14
     Performance Improvement Plans to address those specific strengths and
15
     weaknesses.
16
          In light of Defendants’ overwhelming evidence to the effect that
17
     Faust treated an unmarried female employee (Sue Forrester) favorably,
18
     that he treated another female employee favorably, and that he treated
19
     a married male (Dave Brown) in a materially similar manner to how he
20
     treated Preston, Preston has failed to introduce any evidence giving
21
     rise to any reasonable inferences that Faust’s decision to place
22
     Preston on a Performance Improvement Plan was discriminatory.          Preston
23
     has therefore failed to satisfy her burden of establishing a prima
24
     facie case of discrimination.
25
          B.     Second Adverse Action: Failing to Provide Commissions
26
          Preston asserts that Defendants also engaged in discriminatory
27
     employment actions by denying her commissions on certain sales.           In
28
                                            13
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 1   response, Defendants correctly point out that “Plaintiff’s opposition
 2   is absent of any facts that other Regional Managers were treated more
 3   favorably regarding commissions and pricing.”        (Reply at 3.)
 4   Ultimately, Preston fails to show a prima facie case of discrimination
 5   because she introduces no evidence showing that married and/or male
 6   employees received commissions that they were not entitled to receive,
 7   or that other unmarried females were also denied commissions that they
 8   were entitled to receive.
 9        Preston argues that “Faust would not give Plaintiff commissions
10   for the Westcliff account.     Westcliff had been categorized as
11   transactional not commercial.     Westcliff was a regional laboratory that
12   did not compete with Mayo.”     (Opp. at 8.)    Preston also argues that
13   “Faust would not give Plaintiff preferred pricing on Primex.          Primex is
14   a regional laboratory that did not compete with Mayo in other states.”
15   (Id.)
16        Defendants argue in their Motion, “Plaintiff was not eligible for
17   commissions on Westcliff or preferred pricing on Primex because they
18   were laboratories that were neither hospitals nor affiliated with
19   hospital[s].”    (Mot. at 12, emphasis added.)      Further, in their Reply,
20   Defendants argue that Faust had a good faith belief (whether or not it
21   was correct) that the Primex account was not a hospital or hospital-
22   affiliated laboratory, and thus was not eligible for commissions.
23   (Reply at 9.)
24           Preston argues that Defendants acted in a discriminatory fashion
25   by refusing to provide Preston with commissions for the Westcliff
26   account and by refusing to allow her to have “preferred pricing” on the
27   Primex account.    Defendants respond by arguing that Plaintiff was not
28
                                            14
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 1   entitled to those commissions.     But in fact, neither parties’ arguments
 2   are supported by the record.     The admissible facts are as follows.
 3        Sometime prior to May 27, 2008 Faust and Defendants doubled their
 4   bid on the “Primex” account, thus preventing Preston from getting the
 5   account.   (Pl. MF 37.)   Defendants have submitted a contemporaneous
 6   email from Faust to Preston in which Faust stated his reasons for
 7   handling the Primex account in this manner.       He wrote in his email that
 8   Primex was a “regional commercial lab and as such, we agreed upon
 9   pricing that is similar to our current commercial labs.”         He also
10   explained that “it would not be beneficial to provide better pricing to
11   a competitive regional lab than to your hospitals.         Providing lower
12   pricing to a commercial regional lab could have the potential to
13   undermine our clients[’] outreach activities and possibly hurt their
14   ability to provide their services to their local community.          This would
15   be completely against our mission of supporting the local hospital.”
16   (Faust Decl. Ex. D.)
17        With respect to the “Westcliff” account, on October 15, 2008,
18   Faust informed Preston that this account would be upgraded to a
19   “secondary” account rather than a “transactional” account.          (Preston
20   Decl. Ex. 14.)5   Preston introduces unrebutted evidence showing that
21
      5
22     Preston Decl. Ex. 14 contains an email from Faust to Preston.
      Defendants’ objection to the admissibility of this email is
23    OVERRULED. Preston states that she received the document and that it
      is a true and correct copy of the document she received. This is
24    adequate authentication of documentary evidence. See Wright & Gold,
      31 Federal Practice & Procedure Evidence § 7106 (2009) (“A document
25
      can be authenticated by a witness who wrote it, signed it, used it,
26    or saw others do so.”); see also United States v. Vaghari, No. 08-
      693-01-02, 2009 WL 2245097, at *8 (E.D. Pa. July 27, 2009) (“Rule
27    901(b)(4) provides for authentication through “[d]istinctive
      characteristics and the like. Appearance, contents, substance,
28                                                           (Cont’d...)

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 1   this change would have entitled her to receive commissions on that
 2   account.   (Preston Decl. ¶ 38.)     In his email, Faust states plainly,
 3   “Jill, yes, we can bring them to Secondary status.         Please email Liisa
 4   [sic] Nygaard with all the information so she can produce a Secondary
 5   contract for West Cliff.”     (Preston Decl. Ex. 14.)      Contrary to Faust’s
 6   email statement, the account was not ever actually upgraded to
 7   “secondary” status and Preston was prevented from receiving commissions
 8   on the account.   (Pl. MF 38.)
 9        Even if Preston was wrongly denied commissions on the Westcliff
10   and Primex accounts, the relevant question is whether these actions
11   were discriminatory.    With respect to the present Motion, Preston fails
12   to introduce any admissible evidence establishing her prima facie case
13   of discrimination: namely, that Defendants did or not did treat married
14   and/or male Regional Managers differently than Preston, that Defendants
15   treated other unmarried and/or female Regional Managers similarly, or
16   that Defendants acted in some other manner giving rise to a reasonable
17   inference of discrimination.
18

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      internal patterns, or other distinctive characteristics, taken in
21    conjunction with circumstances.” Other courts have authenticated
      emails in this manner, relying on the email addresses in the headers,
22    explanations in the body of the emails, defendants’ conduct after
      receiving the emails, and other circumstantial evidence.”)
23    (collecting cases).
           To the extent that it is hearsay, it is being offered against a
24    party opponent. Fed. R. Evid. 801(d)(2)(D) (“A statement is not
      hearsay if . . . [t]he statement is offered against a party and is .
25
      . . a statement by the party’s agent or servant concerning a matter
26    within the scope of the agency or employment, made during the
      existence of the relationship.”).
27         To the extent that the email is being taken out of context or is
      otherwise misleading, Defendants bear the burden of introducing
28    evidence to clarify the meaning of the email.

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 1        Preston’s Opposition on this issue relies entirely on inadmissible
 2   evidence and as such cannot provide a basis for defeating Summary
 3   Judgment.   See Fed. R. Civ. P. 56(e)(1) (“A supporting or opposing
 4   affidavit must be made on personal knowledge, set out facts that would
 5   be admissible in evidence, and show that the affiant is competent to
 6   testify on the matters stated.”) (emphasis added); see also Orr v. Bank
 7   of America, NT & SA, 285 F.3d 764, 773 (9th Cir. 2002) (“A trial court
 8   can only consider admissible evidence in ruling on a motion for summary
 9   judgment.”).
10        Preston argues that a married male, John Heywood, was in fact
11   given a commission on a transaction similar to Preston’s “Primex” and
12   “Westcliff” transactions.     (See Def. SMF 13.)     Preston submits her own
13   declaration and the declaration of Sue Forrester in an attempt to show
14   that John Heywood was given a commission on the so-called “PAML”
15   transaction.   (Preston Decl. ¶¶ 9, 32, & Ex. 11; Forrester Decl. ¶ 6.)
16   However, these declarations fail to identify how Preston and Forrester
17   have personal knowledge that (1) Heywood actually received a commission
18   on this deal, and (2) PAML is in fact a “commercial” laboratory or is
19   otherwise similar to Primex or Westcliff.       Tellingly, Forrester’s
20   declaration states “I define PAML as being a commercial laboratory,”
21   (Forrester Decl. ¶ 5) (emphasis added), and Preston’s declaration
22   states “Heywood received commission from PAML which I believe is a
23   commercial laboratory.”    (Preston Decl. ¶ 9, emphasis added.)
24        In her attempt to bolster her argument that PAML is a “commercial”
25   laboratory, Preston introduces a document titled “FIN Account Revenue
26   Report” for an item called “PAML 2008.”       (Preston Decl. Ex. 11.)
27   Preston states that this document is a “true and correct copy of the”
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 1   “Fin Account Revenue Report for 2008,” and that it “shows PAML as being
 2   a commercial account in 2007 and 2007.”       (Preston Decl. ¶ 32.)
 3   Defendants’ objection to all of this evidence — the Preston
 4   Declaration, the Forrester Declaration, and the “Fin Account Revenue
 5   Report for 2008” — is SUSTAINED.      (Docket no. 49-1, at ¶¶ 14-15, 55;
 6   docket no. 49-2 at ¶¶ 8, 12, 14.)      The declarants fail to explain how
 7   they have personal knowledge of the attested facts.         Much of their
 8   testimony is speculative on its face.       Finally, with respect to the
 9   “Account Revenue Report” document, Preston fails to lay an adequate
10   foundation to admit this document.      See United States v. Dibble, 429
11   F.2d 598, 602 (9th Cir. 1970) (“A writing is not authenticated simply
12   by attaching it to an affidavit. . . .       The foundation is laid for
13   receiving a document in evidence by the testimony of a witness with
14   personal knowledge of the facts who attests to the identity and due
15   execution of the document and, where appropriate, its delivery.”).6
16

17    6
           Defendants also attempt to rely on inadmissible evidence in an
      attempt to bolster their case. However, because Preston bears the
18    burden of introducing admissible evidence to support her prima facie
      case, Defendants’ reliance on inadmissible evidence does not affect
19
      the outcome of the Motion.
20         Specifically, Defendants attempt to show that an unmarried
      female was in fact given a commission on a transaction similar to the
21    Primex and/or Westcliff transaction. (See SUF 20.) However, this
      “fact” is drawn entirely from Preston’s deposition. Defendants fail
22    to show that Preston had personal knowledge of this fact. Indeed,
      Preston herself stated at the deposition that she was unsure and was
23    only testifying about her personal opinion regarding the other
      Manager’s transaction. (Pl. Depo. at 106-107.) This is not
24    admissible evidence.
           Defendants also attempt to show that a married male was not
25
      given a commission on a transaction similar to the Primex and/or
26    Westcliff transaction. (See SUF 18-19.) Again, however, this fact
      is drawn entirely from Preston’s deposition, and Preston fails to
27    testify on the basis of personal knowledge that the married man’s
      transaction was in fact similar to her own transactions. (See Pl.
28    Depo. at 105-106, 180, 467, 469.)

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 1        In short, Preston fails to identify any evidence to show that the
 2   “Westcliff” and “Primex” accounts provide an inference of
 3   discrimination.   Preston fails to show that other unmarried and/or
 4   female employees were treated similarly; that married and/or male
 5   employees were treated more favorably; or that any other aspect of
 6   Defendants’ payments of commissions give rise to an inference of
 7   discrimination.   As such, Preston has failed to satisfy her threshold
 8   burden of establishing a prima facie case of discrimination.
 9        C.   Third Adverse Action: Terminating Preston
10        As a final argument, Preston argues that her termination is
11   another example of Defendants’ discrimination.        Again, Defendants
12   correct point out that “Plaintiff has not provided any evidence that
13   gives rise to an in[]ference of discrimination in regard to her
14   termination.”   (Reply at 3.)
15        It is undisputed that after Preston was terminated Faust replaced
16   her with another unmarried female.      (SUF 45.)    It is also undisputed
17   that, when Preston was terminated, Faust retained at least one other
18   unmarried female.   (See Forrester Decl. ¶ 1 (stating that Forrester
19   worked for Defendants through November 2009).)
20        The circumstances surrounding Preston’s termination do not give
21   rise to any inference of discrimination.       Preston has not made her
22   prima facie case.   See Peterson, 358 F.3d at 603.
23        D.   Summary
24        Preston has not made a prima facie showing that she suffered an
25   adverse employment action on account of her gender or marital status.
26   Her cause of action for employment discrimination therefore fails.
27   See, e.g., Hagans v. Andrus, 651 F.2d 622, 625 (9th Cir. 1981) (“a
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 1   proper prima facie case identifies sex as the likely reason for the
 2   [adverse employment action] . . . . [P]roof of discriminatory motive is
 3   critical.”) (citations omitted); accord Ibarra v. Sunset Scavenger Co.,
 4   No. C 01-2875 SI, 2003 WL 21244096, at *6-7 (N.D. Cal. May 21, 2003)
 5   (“To survive summary judgment on his race discrimination claims
 6   plaintiff must show that others similarly situated to plaintiff were
 7   treated better because they were not Latino. This Court has thoroughly
 8   reviewed defendants’ responses to plaintiff’s discovery requests
 9   regarding the race of other employees who were either suspended or
10   terminated because they were not licensed. The record does not show any
11   clear race-based pattern associated with these suspensions and
12   terminations.”).
13

14   IV.   REMAINING CAUSES OF ACTION
15

16          Preston has raised four additional causes of action: retaliation
17   for complaining about discrimination, breach of contract, wrongful
18   termination, and failure to prevent discrimination and retaliation.
19   These causes of action are all survive summary judgment to the extent
20   that they identify adverse employment actions allegedly made as a
21   result of Preston’s filing complaints with Defendants’ Human Resources
22   department and the California Department of Fair Employment and
23   Housing.
24         A.   Retaliation
25         In her second cause of action, Preston asserts that she was
26   unlawfully retaliated against.     As explained by the California Court of
27   Appeal:
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 1        Government Code section 12940, subdivision (h) makes it unlawful
 2        for an employer “to discharge, expel, or otherwise discriminate
 3        against any person because the person has opposed any
 4        [discriminatory] practices forbidden under this part [that is,
 5        Cal. Gov. Code § 12940] or because the person has filed a
 6        complaint, testified, or assisted in any proceeding under this
 7        part.” To establish a prima facie case of retaliation, the
 8        plaintiff must show he or she engaged in a “protected activity,”
 9        the employer subjected the employee to an adverse employment
10        action, and a causal link existed between the protected activity
11        and the employer’s action.
12   McRae v. Department of Corrections and Rehabilitation, 142 Cal. App.
13   4th 377, 386 (2006).    To establish the requisite “causal link,” the
14   plaintiff must show that a “retaliatory animus was a but-for cause” —
15   but not necessarily the “sole[]” cause — “of the employer’s adverse
16   action.”   Reeves v. Safeway Stores, Inc., 121 Cal. App. 4th 95, 107
17   (2004) (quoting Clark v. Claremont Univ. Ctr., 6 Cal. App. 4th 639, 665
18   n.6 (1992)).
19        It is undisputed that Preston complained to her employer about
20   gender discrimination and filed a complaint with the California
21   Department of Fair Employment and Housing.       All of these complaints
22   alleged gender discrimination, and the later complaints alleged marital
23   discrimination.   These activities took place almost immediately prior
24   to the time that Defendants denied Preston commissions on the
25   “Westcliff” transaction and then terminated Preston.         Preston has
26   therefore satisfied her burden of making a prima facie showing of
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 1   unlawful retaliation with respect to the “Westcliff” commissions and
 2   the termination.
 3        Under McDonnell-Douglas, the burden then shifts to Defendants to
 4   show legitimate non-retaliatory reasons for its employment decision.
 5   Reeves, 121 Cal. App. 4th at 111-12.        As is discussed in greater detail
 6   infra, Defendants mainly show that Preston was terminated due to poor
 7   performance – namely, inadequate sales, unprofessional emails, and
 8   general insubordination during her final months of employment.
 9        If Defendants’ rebuttal evidence is credited, then the burden
10   shifts back to the plaintiff to “attack the employer’s proffered
11   reasons as pretexts for discrimination, or to offer any other evidence
12   of discriminatory motive.”     Guz, 24 Cal. 4th at 355-56.      “[E]vidence of
13   dishonest reasons, considered together with the elements of the prima
14   facie case, may permit a finding of prohibited bias.”         Id.   However,
15   even if an employer’s reasons are objectively false – i.e., an employee
16   disputes whether or not she was qualified — “courts only require that
17   an employer honestly believed its reason for its actions, even if its
18   reason is foolish or trivial or even baseless.”        Villiarimo v. Aloha
19   Island Air, Inc., 281 F.3d 1054, 1063 (9th Cir. 2002); Slatkin v.
20   University of Redlands, 88 Cal. App. 4th 1147, 1157 (2001)(“The
21   pertinent statutes do not prohibit lying, they prohibit
22   discrimination.”).
23        On the other hand, if the plaintiff is able to raise triable
24   issues about whether the employer honestly believed its own
25   justification for the termination, the case must go to the jury.           If
26   the plaintiff shows that the justification is are not “merely wrong or
27   mistaken” but is “unworthy of credence,” this leads to a reasonable
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 1   inference that the employer’s apparently legitimate explanation is in
 2   fact pretextual.   E.E.O.C. v. Boeing Co., 577 F.3d 1044, 1052 (9th Cir.
 3   2009) (citing Tomasso v. Boeing Co., 445 F.3d 702, 708 (3d Cir. 2006)).
 4        In addition, courts are cognizant of the fact that “even the
 5   guiltiest employer can almost certainly concoct some facially plausible
 6   explanation for its actions. The explanation need not be sound, fair,
 7   or correct, but only colorable enough that a rational jury could
 8   believe it to have been the employer’s true motivation. Of course,
 9   evidence that the explanation was trumped up or is ‘unworthy of
10   credence’ will tend to support a finding that the action was actually
11   motivated by discriminatory animus, but the burden remains squarely on
12   the plaintiff to convince a jury of that fact by a preponderance of the
13   evidence.”   Reeves, 121 Cal. App. 4th at 112 n.12 (citations omitted).
14        Preston argues that Defendants’ justification is pretextual
15   because Preston should have been credited with sales to Westcliff,
16   Primex, and Pacific Diagnostic Laboratory.       However, as Defendants
17   point out, many Preston’s arguments overlook the importance of
18   temporality when showing a “causal link . . . between the protected
19   activity and the employer’s action.”        McRae, 142 Cal. App. 4th at 386.
20   It important to recall, then, that Preston first sent a complaint to
21   Defendants’ Human Resources department on May 27, 2008.         (Def. MF 22.)
22   Defendants are entitled to summary judgment with respect to all of the
23   alleged “retaliatory” activities that took place prior to Preston’s
24   first complaint of discrimination.      For obvious reasons, Preston cannot
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 1   show that she suffered retaliation prior to the time that she made her
 2   protected complaints.7
 3        This leaves two potentially retaliatory adverse employment
 4   actions: denial of Westcliff commissions and termination.
 5        Defendant wholly fails to show any evidence of legitimate, non-
 6   retaliatory reasons for denying Preston the Westcliff commissions.
 7   Defendant’s evidence is completely silent on the Westcliff deal.
 8

 9    7
       The timeline of allegedly retaliatory events is:
           -February and March 2007: Defendants make sale to Pacific
10    Diagnostic Laboratories in (Def. MF 1, 6.)
           -October 2007: Preston begins receiving commissions on Pacific
11    Diagnostic Laboratories sale. (Pl. MF 7.)
12         -January 2008: Faust sends 2007 sales data to his Regional
      Managers. (Preston Decl. Ex. 3.) Preston’s sales are the lowest in
13    the Western Region, but according to Preston, would have been highest
      had she been properly credited with the Pacific Diagnostic
14    Laboratories sale. (See id.)
           -March 2008: Faust provides Preston her 2007 performance review
15    and places her on Performance Improvement Plan. (Pl. MF 15.)
           -Sometime prior to May 27, 2008: Defendants “double” the bid on
16    the “Primex” account, thus preventing Preston from getting the
      account. (Pl. MF 37.)
17         -May 27, 2008: Preston first complains to Defendants about
      alleged discrimination. (Pl. MF 22.)
18
           -August 2008: Preston files complaint with California Department
19    of Employment and Fair Housing. (Nation Decl. Ex. A.)
           -early October 2008: Preston appeals her Performance Improvement
20    Plan and “Corrective Action”. (Pl. MF 30; see also Thurrell Decl.
      Ex. C: Ex. 40 (stating that appeal was filed October 6, 2008).)
21         -October 15, 2008: Faust informs Preston that the “Westcliff”
      account will be upgraded to a “secondary” account rather than a
22    “transactional” account, which would allow Preston to receive
      commissions on that account. (Preston Decl. ¶ 38 & Ex. 14.)
23         -October 2008: after filing her appeal of the Performance
      Improvement Plan, Preston is prevented from receiving commissions on
24    the “Westcliff” account. (Pl. MF 38.)
           -October 28, 2008: Preston receives email from Faust; attached
25
      to the email is a sales sheet showing that Preston’s sales increased
26    37% over the previous year. (Pl. MF 31. (Defendants’ objection to
      the admissibility of this email is OVERRULED for the reasons stated
27    in footnote 7 supra.))
           -December 10, 2008: Preston is terminated. (Preston Decl. ¶
28    27.)

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 1   Indeed, Faust himself stated in an email to Preston that the Westcliff
 2   deal should be classified as “secondary” rather than “transactional.”
 3   (Pl. MF 48; Preston Decl. ¶ 38 & Ex. 14.)       Further, Preston has
 4   introduced unrebutted evidence that this “secondary” status would have
 5   entitled her to receive commissions on the deal.        (Preston Decl. ¶ 38.)
 6   In their Reply, Defendants assert --- without citation to factual
 7   support --- that “it was Faust’s understanding that this laboratory was
 8   Defendants’ direct competitor . . . and therefore [he] barred any
 9   Regional Manager, including Plaintiff, from receiving commissions.”
10   (Reply at 9.)   However, none of Defendants’ documentary evidence —
11   including Faust’s own declaration --- even mentions the Westcliff
12   transaction.    Even if such evidence is hiding somewhere in the
13   evidentiary record, Defendants have failed to satisfy their summary
14   judgment burden of identifying this evidence for the Court.          See Carmen
15   v. San Francisco United School District, 237 F.3d 1026, 1029 (9th Cir.
16   2001) (court need not “comb the record” looking for evidence to
17   establish a party’s contentions on summary judgment).         Defendants
18   therefore have failed to satisfy their burden under the second step of
19   the McDonnell Douglas burden-shifting framework.        Plaintiff’s
20   retaliation claim relating to the denial of “Westcliff” commissions
21   must go to trial.
22        As for Plaintiff’s claim that her termination was retaliatory,
23   Defendants contemporaneously offered three reasons for terminating
24   Preston: (1) insubordination, particularly with respect to Preston’s
25   failure to attend personnel-related meetings, failure to talk over the
26   phone with Faust and other supervisors, and use of rude and
27   inappropriate tone in her emails with Faust and others; and (2) her
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 1   performance was not up to par and she was not meeting the goals stated
 2   in her Performance Improvement Plan.        (Thurrell Decl. Ex. C: Ex. 51.)
 3   In full, the termination report stated:
 4           Jill, you have refused to meet to discuss your performance
 5           problems[,] which is considered insubordination and clearly
 6           demonstrates that you are not interested in continuing your
 7           employment at Mayo Clinic. Your overall performance is not meeting
 8           expectations and you are not meeting the goals set forth in the
 9           Performance Improvement Plan that is in place.      You were given a
10           written warning level corrective action on 3/18/2008 and placed in
11           a performance improvement plan.     You were given a suspension level
12           corrective action for performance related issues on 12/2/2008 and
13           your [Performance Improvement Plan] was extended.      Since that time
14           you have not followed the directive you were given to stop sending
15           your supervisor inappropriate, disrespectful and untruthful
16           harassing emails.   This ongoing insubordinate behavior and your
17           overall ongoing poor performance have led to the decision to
18           terminate your employment effective today 12/10/2008.
19   (Id.)
20        Defendants have therefore satisfied their burden of showing
21   legitimate non-retaliatory reasons for the termination.
22        Preston has, however, raised a triable issue of fact to suggest
23   that these explanations were pretextual, either because they were
24   untrue or were so trivial as to be an insufficient basis for the
25   termination.8    Recall that “evidence that the explanation was trumped up
26
      8
27     Note that “temporal proximity [between the employee’s protected act
      and the employer’s alleged retaliation], although sufficient to shift
28                                                           (Cont’d...)

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 1   or is ‘unworthy of credence’ will tend to support a finding that the
 2   action was actually motivated by discriminatory animus.”         Reeves, 121
 3   Cal. App. 4th at 112 n.12.
 4        Plaintiff has raised a triable issue of fact as to whether her
 5   performance was satisfactory and as to whether Defendants’ claims of
 6   insubordination were “trumped up” or “unworthy of credence.”          Reeves,
 7   121 Cal. App. 4th at 112 n.12.     Specifically, Preston introduces
 8   evidence showing that, in late October 2008, Faust informed her that
 9   her sales had increased 37% over the previous year.         (Pl. MF 31.)9
10   Furthermore, Preston achieved this large increase despite being absent
11   for approximately three months.      (See Pl. MF 47.)
12        Given this large increase in sales, Preston has raised a triable
13   dispute as to whether she was performing satisfactorily.         This is
14   particularly true given the fact that she was a salesperson, and common
15   sense counsels that a salesperson’s central goal is to increase sales.
16   Other employment goals are generally secondary to that central task.
17   Thus, to the extent that Defendants fired Preston for failing to comply
18   with the non-sales-related aspects of the Performance Improvement Plan,
19   Preston has raised triable issues of fact as to whether those non-
20   sales-related requirements constitute a “trumped up” ---- and hence
21   pretextual — reason for firing her.         See Reeves, 121 Cal. App. 4th at
22   112 n.12; see also Savina v. Robert Resier & Co., Inc., No. 09-15065,
23
      the burden to the employer to articulate a nondiscriminatory reason
24    for the adverse employment action, does not, without more, suffice
      also to satisfy the secondary burden borne by the employee to show a
25    triable issue of fact on whether the employer's articulated reason
26    was untrue and pretextual.” Loggins v. Kaiser Permanente Intern.,
      151 Cal. App. 4th 1102, 1112.
27    9
       Defendants’ objection to the admissibility of this email is OVERRULED
28    for the reasons stated in footnote 5 supra.

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 1   2010 WL 331437, at *1-2 (9th Cir. Jan. 26, 2010) (mem. disp.) (citable
 2   pursuant to Fed. R. App. 32.1) (reversing grant of summary judgment
 3   where plaintiff-salesman’s evidence showed that he “was on track to
 4   achieve one of the best annual sales performances of his tenure,” thus
 5   raising inference that defendant’s performance-related justification
 6   was pretextual).
 7          To the extent that Defendants fired Preston for unprofessional
 8   behavior and insubordination, Preston has introduced undisputed
 9   evidence showing that she was “easy to work with.”         (Pl. MF 35-36, 44,
10   53.)   Although Preston fails to raise triable disputes as to the fact
11   that she sent unprofessional emails to Faust and others, she does raise
12   a sufficient factual dispute as to whether or not Defendants’ decision
13   to fire her for a few instances of “insubordination” was “trumped up”
14   and pretextual.    Reeves, 121 Cal. App. 4th at 112 n.12.
15          In summary, Preston has introduced undisputed evidence that she
16   was entitled to commissions for the Westcliff account.         Further,
17   Preston has introduced factual disputes about the truthfulness of
18   Defendants’ stated reasons for terminating her, and/or about the
19   materiality of the stated reasons and whether or not they were “trumped
20   up.”   Preston has therefore raised a triable inference that the denial
21   of the Westcliff commissions and the termination were retaliatory acts
22   related to Preston’s complaints about discrimination.
23          B.   Breach of Contract
24          Generally, there is no cause of action for breach of contract if
25   the employment relationship is “at-will.”       See Guz, 24 Cal. 4th at 335-
26   36.    “But the parties are free to define their relationship, including
27   the terms on which it can be ended, as they wish. The parties may reach
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 1   any contrary understanding, otherwise lawful, concerning either the
 2   term of employment or the grounds or manner of termination.”          Id. at
 3   336 (quotations omitted).
 4        Here, Preston’s relationship with Defendants was generally “at
 5   will.”   (Wendorff Decl. Ex. A.)     However, Preston has introduced
 6   evidence that Defendants stated that they would not terminate employees
 7   for filing complaints about “suspected wrongdoing” or for filing
 8   appeals of “work-related employee issues.”       (Preston Decl. Ex. 8, 17;
 9   see also Pl. MF 30, 51.)
10        Sometime after receiving her Performance Improvement Plan, Preston
11   filed a complaint about Faust’s actions.       (Pl. MF 50.)    In October
12   2008, Preston filed an appeal of the Performance Improvement Plan and
13   Corrective Action.    (Pl. MF 30.)    Preston has therefore raised a
14   triable issue that Defendants breached a contractual term of their
15   employment relationship with Preston — namely, that employees will not
16   be terminated for filing complaints or appeals such as the ones Preston
17   filed.
18        Defendants’ entire counter-argument relies on the argument that
19   the parties’ relationship was at-will, and at-will employees may not
20   bring breach of contract actions.      However, as explained in Guz,
21   parties may contractually alter the at-will relationship.          24 Cal. 4th
22   at 335-36.   Here, Preston has identified Defendants’ contractual
23   promises not to terminate employees in certain situations.          The general
24   rule regarding “at-will” employment is overcome when the parties make
25   specific provisions regarding the nature of the employment
26   relationship.   See Cal. Labor Code § 2922.
27

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 1        Preston has therefore raised a triable issue of fact as to whether
 2   Defendants violated specific contractual terms governing Preston’s
 3   employment relationship.
 4        C.   Wrongful Termination in Violation of Public Policy
 5        Because Preston has raised a triable issue regarding her
 6   retaliation claim, she has also raised a triable issue regarding her
 7   wrongful termination in violation of public policy claim under Article
 8   One, Section Eight of the California Constitution.         See Phillips v. St.
 9   Mary Regional Medical Center, 96 Cal. App. 4th 218, 230-33 (2002)
10   (holding that Cal. Const. art I, sec. 8 establishes public policy
11   against terminating an employee for filing allegations of
12   discrimination with authorities).
13        D.   Failure to Prevent Discrimination or Retaliation
14        Likewise, because Preston has raised a triable issue regarding her
15   retaliation claim, she has also raised a triable issue regarding her
16   failure to prevent retaliation claim under Cal. Gov. Code § 12940(k).
17   See Taylor v. City of Los Angeles Dept. of Water and Power, 144 Cal.
18   App. 4th 1216, 1239-40 (2006) (holding that Cal. Gov. Code § 12940(k)
19   establishes cause of action for employer’s failure to prevent
20   retaliation, as retaliation is viewed as a form of discrimination),
21   disapproved of on other grounds by Jones v. Lodge at Torrey Pines
22   P’ship, 42 Cal. 4th 1158, 1163 (2008) .
23

24   V.   SUMMARY
25

26        Preston has raised triable issues of fact regarding: (1) whether
27   Defendants retaliated against her by denying her the Westcliff
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 1   commission; (2) whether Defendants retaliated against her by
 2   terminating her; (3) whether Defendants breached a contractual
 3   obligation not to fire her for filing internal appeals and complaints;
 4   (4) whether Defendants wrongfully terminated her employment in
 5   violation of public policy by retaliating against her; and (5) whether
 6   Defendants failed to prevent their agents from retaliating against her.
 7         Defendants are entitled to summary judgment on the remaining
 8   claims, including the entirety of the discrimination claim.
 9         The Court notes that the parties have submitted a stipulation to
10   continue trial from May 25 to June 8. [Docket no. 55.] The request is
11   DENIED.    The present Order provides the parties and their witnesses
12   adequate opportunity to prepare for a May 25 trial.
13         The Court also notes its concern about the manner in which the
14   remaining causes of action will be presented to the jury.          The Court is
15   concerned that, unless the jury is informed that the discrimination
16   allegations are no longer viable, the jury will speculate about the
17   results of the discrimination complaints to the Human Resources
18   department and the California Department of Employment and Fair
19   Housing.   The parties are therefore ORDERED to meet and confer
20   regarding question of how the Court should present the outcome of
21   Plaintiff’s discrimination claim to the jury.        If they find that mutual
22   agreement on this issue is unlikely, they are ORDERED to file cross-
23   motions in limine no later than May 10, 2010, with Oppositions due on
24   May 14, 2010.   The Court will address the matter further at the May 17
25   Pretrial Conference.
26   ///
27   ///
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 1   VI.   CONCLUSION
 2

 3         For the foregoing reasons, Defendants’ Motion for Summary Judgment
 4   is GRANTED-IN-PART and DENIED-IN-PART.       The parties must proceed to
 5   trial on the second through fifth causes of action with respect to the
 6   “Westcliff” commission and the termination.       The parties are ORDERED to
 7   meet and confer and file cross-motions in limine relating to the
 8   question of how the discrimination complaints should be presented to
 9   the jury.
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12            IT IS SO ORDERED.
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15   DATED:   May 4, 2010
16                                                      STEPHEN V. WILSON
17                                                 UNITED STATES DISTRICT JUDGE
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